Exhibit B
THE HEALTH LAW OFFICES OF
ANTHONY C. VITALE P.A.

8160 Oak Lane — Suite 403
Miarni Lakes, Florida 33016
Phone: (305) 358-4500 + Facsimile: (305) 358-5113
Email: info@vilalehealthcare.com + Website: www. vitalehealthlaw.com

December 1, 2023
Via Email to jayc650@hush.com

JAY CONNOR
215 EAST BAY STREET, 201-F
CHARLESTON, SC 29401

RE: NOTICE OF REPRESENTATION
JASON LAVOIE
CIVIL ACTION NO. 23-cv-1452-JD-MGB

Dear Jay,

Please be advised that The Health Law Offices of Anthony C. Vitale, P.A.,
represents Mr. Jason Lavoie in regards to your subpoena. (EXHIBIT #1) Please be
advised that the requested information is unavailable as the patient was not serviced. The
extent of Mr. Lavoie’s involvement in this matter is the return address located at 1500
Weston RD #200-16, Weston, FL 33326. The address in question Is only a return hub.
Packages were not shipped from this location. Due to this, Mr. Lavoie is unable to obtain
any of the information requested in #1-4. The only information Mr. Lavoie is able to
provide is proof of delivery, which is attached to this email. (EXHIBIT #2)

If you have further correspondence for this matter, please send it directly to me.

Thank you for your prompt attention to this matter. We look forward to hearing from
you.

Sincerely,

h Gage

Ricardo D. Gomez, Esq.
rgomez@vitalehealthlaw.com

1 of 1

| UNITED STATES

POSTAL SERVICE @

Tracking Number: 9374810912400851839303

Destination Address:

Date & Time

Archive USPS Tracking Plus Statement
As of November 21, 2023

spor
— Address Redacted by p lain. f r -

Status of Item

Location

Sep 26, 2022 9:24 am

ARRIVED SHIPPING PARTNER

FACILITY

MELROSE PAR, IL 60160

Sep 27, 2022 6:29 pm

ARRIVED SHIPPING PARTNER

FACILITY

MABLETON, GA 30126

Sep 28, 2022 1:45 am

DEPARTED SHIPPING PARTNER

FACILITY

MELROSE PARK, iL 60160

Sep 28, 2022 7:05 am

PRE-SHIPMENT INFO SENT TO

USPS

296109998

Sep 28, 2022 9:01 am

ACCEPTANCE AT DESTINATION

296109998

Sep 28, 2022 10:16 am

ARRIVAL AT UNIT

GREENVILLE, SC 29610

Sep 29, 2022 6:00 am

SORTING/PROCESSING

GREENVILLE, SC 29611

COMPLETE
Sep 29, 2022 6:10 am OUT FOR DELIVERY GREENVILLE, SC 29611
Sep 29, 2022 5:17 pm DELIVERED GREENVILLE, SC 29611

Page 1
